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A 0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE

                                                              CASE NUMBER: 8:03-cr-476-T-23EAJ
                                                              UShlNUMBER: 41591-018
vs.


JIMMY PENA
                                                              Defendant's At~orney: Jcrry S. Theophilopoulos, ret

THE DEFENDANT:

-
X pleaded guilty to count ONE of the Superseding Information.


TITLE & SECTION                     NATURE O F OFFENSE                                   OFFENSE ENDED              COUNT

18 U.S.C. $ 4                        h4isprision of Felony                               November 15, 2003          Oh%


        The defendant is senlcnced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

X Count ONE of the underlying Indictment is disnlissed in accordance with the plea agreement.
-
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: May 23, 2005




                                                                                                                               I
                                                                                    STEVEN D. hIERRYDAY '
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: May s        2    ,
        Case 8:03-cr-00476-SDM-E_J Document 221 Filed 05/31/05 Page 2 of 5 PageID 626
A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:         JIMMY PENA                                                                      Judgmenr - Page 2 of 5_
Case No.:          8:03-cr-476-T-23EA.I




                The defendant is hereby committed to the custody of the Unitcd States Bureau of Prisons to be
imprisoned for a total term of TWENTY-ONE (21) MONTHS as to count one of the Superseding Information.




-
X The court makes the following recomn~endationsto the Bureau of Prisons: that the defendant be placed in FCI Fort Dix,
New Jersey.



- The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this district.
         - at - a.m./p.m. on -.
         - as no~ifirdby the United States Marshal.
     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          X within 30 tlavs .
          -
          - as notified by the United States Marshal.
          - ;ISnotified by h e Probation or Pretrial Services Oftice.




                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                 to

at                                                                        . with a certified copy of this jud,ment.


                                                                                         Unircd States Marshal

                                                                        By:
                                                                        Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:        JIMMY PENA                                                                     Judgment - Page 3of 5
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                                                       SUPERVLSED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of TWELVE (12) h1OWIBS as
t o count one of the Superscding Inform,'1 1'1011.

        The defendant shall report to the probation office in the district to which d ~ derendant
                                                                                        e         is released within 72 hours of release
from the custody of the Bureau of Prisons.

        While on supervised release, h e defendant shall not commit another federal, state, or local crime, and shall not possess a
fiearm, ammunition. or destructive device as defined in 18 U.S.C. 5 921.

         The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, as determined by the court.

X
-        The above drug tcsting condition is suspended, based on rhe court's deterniination that the defendant poses a low risk of future
         substance abuse.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.

          The defendant shall cornply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
          the defcndant shall not Icavc thc judicid district without the permission of the court or probation officcr;
          the defendant shall rcport to thc probation officer and shall submit a truthful and coniplctc writtcn rcport within thc first fiw days
          of each month:
          the dcfcndant shall answer truthfully all inquiries by the probation officer and follow thc instructions of thc probation officer;
          the defendant shall support his or hcr dependents and meet othcr family responsibilities;

          the defcndant shall work rcgularly at a lawful occupation. udess excused by thc probation officer for schooling, training, or othcr
          acceptable reasons:
          the defendant shall notify the probation officcr at least ten days prior to any change in rcsidcncc or employment;
          the defendant shall refrain From cxccssive use of alcohol and shall not purchasc, possess, use. distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substanccs, cxcept as prcscribcd by a physician;
          the dcfcndant shall not Frcqucnt places where controlled substances are illegally sold, used, distributed, or administered;
          the defendant shall not associatc with any persons engaged in criminal activity and shall not associatc with any person convicted
          of a felony, unlcss grantcd pcmission to do so by the probation officer:
          the defendant shall pcrmit a probation officcr to visit him or her at any time at home or clscwhcrc and shall pcmmit confiscation of
          any contraband obscrvcd in plain vicw of thc probation officer;
          the dcfcndant shall notify thc probation officer within scvcnty-two hours of bcing arrcstcd or qucstioncd by a law enforcement
          oficcr;
          thc dcfcndant shall not cntcr into any agrccrnent to act as an informer or a spcciol agcnt of a law cnforccmcnt agcncy without the
          permission of tlmc court;
          as directed by thc probation officcr, tlic defendant shall notifythird parties ofrisks that may bc occasionctl by thc defendant's m'minal
          record or personal history or characteristics and shall permit the probation officer to makc such notifications and to confirm the
          defendant's compliancc with such notification requircmcnt.
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A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

Defendant:         JIMMY PENA                                                    Judgment - Page 4 of 5--
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                                          CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties undcr the schedule of paylnents on Sheet 6.
                           Assessnlerlt                        -
                                                               Fie                         Total Restitution

         Totals:            $100.00                            $ waived                    $


-        The determination of restitution i.s deferred until -,         An Amended Judgment in (I Cri~~lirlal
                                                                                                           Case ( A 0 245C) will
         be entered after such determ~nat~on.
-        The defendant must make restitution (including comniunity restitution) to the following payees in the amount listed
         below.
         If the defendant makes a paqia! payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise In the prlorlty order or percentage pa ment column below. However, pursuant to 18 U.S.C. 5
                                                                     d
         3664(i), all non-federal victims must be paid before the nited States.
                                                                                                             Priority Order or
                                               *Total                       Amount of                        Percentage of
Name of Pavee                                Amol~ntof Loss              Restitution Ordered                 Pavment




                            Totals:

-        Restitution amount ordered pursuant to plea agreement S
-        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
         before the fifreenth day after the date of the judgment, ursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
                                                               P
         6 may be subject to penalties for delinquency and de auk pursuant to 18 U.S.C. $ 3612(g).
-        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the - fine      - restitution.
        -          the interest requirement for the - fine - restitution is modified as follows:




* Findings for the total anlount of losses are required under Cha ters 109A. 110. 1IOA, and 113A of Title 18 for the offenses
committed on or after September 13. 1994. but before April 23. 1896.
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A 0 245B (Rev 12103) Sheet 6 - Schedule of P;iymenrs

Defendant:        JIMMY PENA                                                       Judgment - Page 5 of 5
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.                 Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                    , or

                            - in accordance - C,                 D, - E or - F below: or
B.                 Payment to begin immediately (may be combined with -C, - D, or -F below): or
C.       -        Payment in equal                 (e.g., weekly. monthly, quarterly) installments of S             over a
                  period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment; or
D.       -        Payment in equal                ( e . ~ weekly,
                                                          ,       monthly, quarterly) installments of $             over a
                  period of             , (e.g., mon s or years) to commence                     (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision; or
E.       -         Payment during the term of supervised release will commence within                         (e.g., 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud ment imposes a period of im                           payment of criminal
         Z                              !                             f
monetar penalties is due during im risonment. All crimina monetary penalties, except
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the
                                                                                                                      made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: ( I ) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution. ( 6 ) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
